Case 8:20-cv-00048-JVS-JDE Document 1987 Filed 06/30/24 Page 1 of 2 Page ID
                                #:170273



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      MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
 15
                     IN THE UNITED STATES DISTRICT COURT
 16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
 17
      MASIMO CORPORATION, a                   ) Case No. 8:20-cv-00048-JVS-JDE
 18   Delaware corporation; and               )
      CERCACOR LABORATORIES,                  ) PLAINTIFFS’ NOTICE OF
 19   INC., a Delaware corporation            ) MOTION AND MOTION FOR A
                                              ) PROTECTIVE ORDER
 20                  Plaintiffs,              ) PRECLUDING DEFENDANT
                                              ) FROM DISCLOSING PLAINTIFFS’
 21           v.                              ) CONFIDENTIAL MATERIALS TO
                                              ) DR. PATRICK MERCIER
 22   APPLE INC., a California corporation    )
                                              ) Date:       7/25/2024
 23                  Defendant.               ) Time:       10:00 a.m.
                                              ) Location: Courtroom 6A
 24                                           )
                                              ) Discovery Cutoff: 7/15/2024
 25                                           ) Pre-Trial Conf.:   10/28/2024
                                              ) Trial:             11/05/2024
 26                                           )
                                              )
 27                                           ) Judge: Judge James V. Selna
                                              ) Mag. Judge John D. Early
 28
Case 8:20-cv-00048-JVS-JDE Document 1987 Filed 06/30/24 Page 2 of 2 Page ID
                                #:170274



  1   TO THE COURT, DEFENDANT’S, AND ALL COUNSEL OF RECORD
  2         PLEASE TAKE NOTICE that on July 25, 2024, or as soon thereafter as
  3   the matter may be heard, in Courtroom 6A, located at 411 West Fourth Street,
  4   Santa Ana, California, 92701, Plaintiffs Masimo Corporation and Cercacor
  5   Laboratories, Inc. will move the Court for a Protective Order precluding
  6   Defendant Apple Inc. from disclosing Plaintiffs’ Confidential Materials to Dr.
  7   Patrick Mercier. See Dkt. 67.
  8         This motion is made following the conference of counsel pursuant to Local
  9   Rule 37-1, which took place on June 21, 2024. It is supported by the
 10   accompanying Joint Stipulation Regarding Plaintiffs’ Request for a Protective
 11   order Precluding Defendant from Disclosing Plaintiffs’ Confidential Materials to
 12   Dr. Patrick Mercier, the Declaration of Kendall Loebbaka the attached Exhibits
 13   A-I, the Declaration of Nora Passamaneck and attached Exhibit, a Proposed
 14   Order, and such other evidence or argument as may be presented at or before the
 15   hearing.
 16
                                      Respectfully submitted,
 17
                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
 18

 19   Dated: June 30, 2024            By: /s/ Kendall M. Loebbaka
 20                                       Joseph R. Re
                                          Stephen C. Jensen
 21                                       Sheila N. Swaroop
                                          Brian C. Horne
 22                                       Brian C. Claassen
                                          Mark D. Kachner
 23                                       Adam B. Powell
                                          Kendall M. Loebbaka
 24                                       Daniel P. Hughes

 25                                      Attorneys for Plaintiffs,
 26                                      MASIMO CORPORATION and
                                         CERCACOR LABORATORIES, INC.
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